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AO 91 (Rev. 11/11) Criminal Complaint


                                    UNITED STATES DISTRICT COURT                                                     FILED
                                                             for the                                      September 18, 2024
                                                 Western District of Texas                                CLERK, U.S. DISTRICT COURT
                                                                                                          WESTERN DISTRICT OF TEXAS

                  United States of America                      )                                                          AC
                                                                                                      BY: ________________________________
                                                                                                                              DEPUTY
                             v.                                 )
                                                                )       Case No. SA:24-MJ-1315
            JOSE DAVID MOYA-MOYA                                )
                                                                )
                                                                )
                                                                )
                           Defendant(s)


                                             CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of September 14, 2024                          in the county of BEXAR                                  in the
WESTERN                District of TEXAS                    , the defendant(s) violated:
            Code Section                                                  Offense Description
18 U.S.C. Section 922(g)(5)               Alien in Possession of a Firearm

                                          Up to 15 Years Imprisonment, $250,000 Fine, 3 Years Supervised
                                          release, $100 Mandatory Assessment



         This criminal complaint is based on these facts:

SEE ATTACHED AFFIDAVIT




              Continued on the attached sheet.
                                                                                                       Digitally signed by FRANCES
                                                                        FRANCES QUIJANO QUIJANO
                                                                                                       Date: 2024.09.17 16:56:13 -05'00'
                                                                                           Complainant’s signature

                                                                        Frances Quijano, SA FBI
                                                                                            Printed name and title
    Sworn to before me and signed in my presence.
    Sworn to telephonically and signed electronically.


Date:      September 18, 2024
                                                                                              Judge’s signature

City and state:      San Antonio, Texas                                 HENRY J. BEMPORAD, US MAGISTRATE JUDGE
                                                                                            Printed name and title
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                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                               SAN ANTONIO DIVISION

                AFFIDAVIT IN SUPPORT OF A CRIMINAL COMPLAINT

I, FBI Special Agent Frances Quijano, being duly sworn do hereby depose and state:

   1. Your affiant is an FBI Agent assigned to the San Antonio FBI Safe Streets Task Force. In
      my work with the FBI Safe Streets Task Force, I have participated in drug investigations
      and other violent crime investigations, during the course of which, I have conducted and
      participated in physical surveillance, execution of search warrants, debriefings of
      Confidential Human Sources (CHS) and reviews of recorded conversations and criminal
      records. Through my training, education, and experience, I have become familiar with the
      involvement of criminal enterprise members in violent activities, the handling of the
      finances of criminal enterprises, the manner in which illegal drugs are imported and
      distributed, and the method of payment for such activity to avoid detection by law
      enforcement. My primary duty and current assignment is conducting investigations
      targeting violent gangs and individuals involved in illegal activities as members of drug
      trafficking criminal enterprises. Among other duties, I am currently involved in an
      investigation focusing on the illegal activities of members and/or associates of the various
      criminal gangs in San Antonio, Texas, and the surrounding areas.

   2. On September 14, 2024, at approximately 11:30 A.M., JOSE DAVID MOYA MOYA and
      an associate were traveling in a vehicle with Colorado license plates in San Antonio, Texas,
      within the Western District of Texas. MOYA was the passenger and his associate was the
      driver. Officers with the San Antonio Police Department (SAPD) conducted a traffic stop
      on the vehicle at the 9700 block of San Pedro Ave. Both men were detained by SAPD.

   3. MOYA gave SAPD consent to search a tan colored fanny pack he was carrying. The fanny
      pack contained a tan colored handgun loaded with 17 rounds in the magazine. The firearm
      was a model CANIK TP9SF, bearing serial number T6472-21 AT 06835.

   4. MOYA was transported to Homeland Security Headquarters and read his Miranda rights.
      MOYA agreed to participate in a custodial interview. MOYA confessed to picking up the
      CANIK firearm from an individual at an apartment complex on Blanco Avenue in San
      Antonio, Texas.

   5. A query of DHS records revealed that MOYA is a citizen of Venezuela and illegally present
      in the United States. MOYA entered the United States through Eagle Pass, Texas, on
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       September 12, 2022, and was paroled into the United States until May 5, 2023. MOYA
       failed to appear at his immigration hearing.

   6. MOYA was arrested on April 16, 2024, by the Chicago Police Department for the offenses
      of Driving/Never Issued License, Operate Uninsured MTR Vehicle, and No Valid
      Registration. MOYA was released from the Cook County Jail in Chicago, IL, but failed to
      appear at his hearing scheduled for May 2, 2024.

   7. The CANIK firearm possessed by MOYA was manufactured in Turkey, and therefore
      traveled in foreign commerce.


Based on the above facts, your affiant believes there is probable cause to believe that MOYA has
violated 18 U.S.C. Section 922(g)(5) (Alien in Possession of a Firearm).


                                    FRANCES             Digitally signed by FRANCES
                                                        QUIJANO
                                    QUIJANO             Date: 2024.09.17 16:56:45 -05'00'
                                                                         _________
                                    FBI Special Agent Frances Quijano
                                    Federal Bureau of Investigation – Safe Streets Task Force


                                        18th DAY OF September _____ 2024.
SUBSCRIBED AND SWORN TO BEFORE ME THIS ____


                                            ______________________________________
                                            HONORABLE JUDGE HENRY J. BEMPORAD
                                            UNITED STATES MAGISTRATE JUDGE
